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EXHIBIT'Z

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DECLARATION

l, Suzanne Begnoche, declare under penalty of perjury, as provided for by the laws of the
United Statcs, 28 U.S.C. §1746, that the following statements are true:

l. I have personal knowledge of the facts described herein.

2. l represent Dcdrah Earles and Warren K. Earles pursuant to the Order of this
Court, dated May 20, 2013, with respect to claims of harassing phone calls from a collection
agency, NCO Financial Systems, Inc., regarding an alleged consumer credit card debt to Capital
One Bank (USA), N.A..

3. On Mr. and Mrs. Earles’ behalf, l filed the lawsuit captioned Warren K. Earles
and Dedrah Earles vs. NC 0 Financial Systems, Inc. and Capital One Bank (USA), N.A., Case.
No. l3-CVS-510, in the General Court of Justice, Superior Court, Chatham County, North
Carolina.

4. ln the lawsuit, Mr. and Mrs. Earles alleged that the Def`endants violated the North
Carolina Prohibited Practices by Collection Agcncies statute (“PPCA"), N.C.G.S. § 58-70-90, et
seq., the Unfair and Deceptive Trade Practices statute, N.C.G.S. § 75-1.1, et seq., and that the
Dcfcndants committed the tort of intrusion into seclusion.

5. Discovery during the lawsuit, including telephone recordings, led me to determine
that some of the allegations upon which the lawsuit complaint was based were invalid, and that

the claim for damages under the tort of intrusion into seclusion could not be sustained

6. 1 therefore filed an amended complaint to reflect the new information revealed in
discovery.
7. Based on what was revealed in discovery, l also substantially downgraded my

original prc-suit assessment of Mr. and Mrs. Earles’ potential damage recovery.

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8. The parties have now resolved the lawsuit on the terms and conditions outlined in
a settlement agreement dated January 29, 2014, a copy of which is attached hereto as Exhibit 1.

9. The terms of the settlement call for payment to Mr. and Mrs. Earles of the sum of
thirteen thousand six hundred and twenty-five dollars and ninety-six cents ($l3,625.96). The
settlement provides that each party is responsible for its own fees and costs.

10. The terms of the settlement also call for defendants to cease collection on the
alleged debt.

ll. l request compensation at $350.00lh0ur for my work in the Earles’ case. Because
of the reduction in value to thc case following the necessity of` amending the complaint, I am
requesting compensation only for time incurred from December 9, 2013 (the date of the hearing
at which the Superior Court judge authorized amendment of the complaint) to the present.
During that time, l have expended 15 hours on this matter, for total fees of five thousand, two
hundred and fifty dollars ($5,250.00).

12. l also request reimbursement for the full case costs of two-hundred seventy-live
dollars and ninety-six cents ($275.96), include filing fees, service fees, postage costs, faxing
costs, copying costs, legal research costs, and the costs of materials such as CD-ROMS used in
the litigation.

l3. Attached hereto are Exhibits 2 and 3, which itemize the fees and costs requested.

14. In support of my hourly rate, l submit the following information about my
background and qualifications

15. I am a graduate with Honors of the University of North Carolina School of Law.

16. I am in good standing with the North Carolina state bar and am not subject any

disciplinary proceedings l am also admitted to practice before the United States District Courts

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for the Middle and Eastem Districts of` North Carolina, the Fourth Circuit Court of Appeals, and
the tribal courts of the Eastem Band of Cherokce Indians.

17. l am a former Section Chair of the North Carolina Advocates for .lustiee
(“NCAJ”) Consumcr Areas of Practice Section, as well as a member of the North Carolina Bar
Association’s Bankruptcy Section and of the Nationa| Association of Consumcr Advocates.

18. l am in private practice in Chapel Hill, North Carolina, as a sole proprietor. A
significant portion of my practice is the representation of plaintiffs in consumer protection
matters, focusing on cases that arise under the F air Debt Collections Practices Act (“FDCPA”),
the Fair Credit Reporting Act, the Telephone Consumcr Proteetion Act, and North Carolina’s fair
debt collection and predatory lending laws. I also defend consumers in debt collection lawsuits.
I am one of` the few attorneys in North Carolina whose law practice is limited to consumer
protection issues involving debt and credit reporting

l9. Prior to going into private practice, I was a staff attorney for Legal Aid of North
Carolina pursuant to an Everctt Community Lawyer Fellowship. At Legal Aid, l handled cases
involving consumer debt defense, foreclosure defense, and claims of debt collection harassment,
unfair and deceptive trade practiccs, auto fraud, and wrongful repossession.

20. I have represented consumers in the following cases in the Middle District of
North Carolina that involved claims under the FDCPA and/or North Carolina’s fair debt

collection laws: Johnson vs. Bullhead Investments Inc. and Brock & Scott PLI..C ( l :09-cv-639-

 

UA-WWD); McMillan vs. LVNV Funding, LLC, et. al. (l :09-cv-840-UA-PTS); Sgencer vs.
HSBC Card Services, lnc., et al. (l:09-cv-759-UA-WWD); De Los Santos vs. Nieves et al.

(l :09-cv-00426-UA-LPA); Russell vs. Absolute Collection Service, lnc. (l :09-cv-515-WO-

WWD); Woods vs. LVNV Funding, LLC (l : lO-cv-46-UA-LPA); Snencer vs. CashCall, lnc.

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(l : lO-cv-221-UA-WWD); Bradshaw vs. chen Loan Servicing. LLC (l:lO-cv-258-WWD-
WWD); Curric vs. Creditors Financial Group, LLC (1:10-ev-262-TDS-PTS); Fitzgerald v.

National Enterprise Systems, Inc. (l : 10-cv-00376-UA-PTS); Long vs. Mohr Collection Service,
M_. (l :l l-cv-l75-NCT-PTS); Franklin vs. Citibank (South Dakota), N.A. ct al. (l:l 1-cv-235-

UA-WWD); Hall vs. BAC GP LLC et al. (l:l l-cv~479-UA-WWD); Eltayeb vs. McKesson

 

Co[goration, et al. (#l :12-cv-l95); Burrows vs. Bradf`ord Collection Servs., lnc, and Experian
lnfo. Solutions, Inc. (MDNC, G’boro Div. # l:lZ-cv-l 193); Villa vs. Ally Financial, Inc., et al.
(MDNC, Durham Div. # 1:l3-cv-953); and Izzard vs. Credit Financial Svstems, lnc., et al.
(MDNC, Durham Div. # l:l3-cv-998).

21. I have represented consumers in the following cases in the Eastem District of
North Carolina that involved claims under the FDCPA and/or North Carolina’s fair debt
collection laws: Alfaro vs. National Enterprise Systems, lnc. et al. (5:09-cv-282-D); Godfrey‘vs.
Portf`olio Recovery Associates, LLC (5:09-cv-507-D); Creech vs. Portfolio Recovery Associates,
L_Ii(_f (5: lO-cv-l9-D) ; Kolman vs. Collecto, Inc. d/b/a Collection Company Of America, etc.

(5:10-cv-68-BR); Racick v. Dominion Law Associates, et al. (5:10-cv-00066-F); Hug vs.

Absolute Collection Service lnc. (5:l l-cv-127-D); Jacobus vs. Sallie Mae, lnc., et al. (# 5:12-ev-

 

305); Meder vs. H & M Hennes & Mauritz, LP & Wells Fa;go Bank, N.A. (# 5:12-cv-582);
Hilliard vs. Portfolio Recovery Associates, LLC, et al. (EDNC, West. Div. # 5:l3-cv-3307); and
Ahmed vs. Department Stores National Bank et al. (EDNC, West. Div. # 5:13-cv-544).

22. I have represented consumers in the following cases in North Carolina state courts
that involved claims under the FDCPA and/or North Carolina’s fair debt collection laws:
Whitehead vs. Midland Funding, LLC, ct al. (Alamance Co. # 09-CVD-977); Fuller vs. Global

AG LLC d/b/a RFA (Alamance Co. # lO-CVD-3093); Oliveri vs. Stillwell & Stone LLC et al.

 

 

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(Chatham Co. # lO-CVS-282); Collins vs. Commercial Recovery Svstems, lne., et al. (Chatham
Co., N.C. #lZ-CVS-659); Josev vs. Commercial Recovery Systcms. lnc., et al. (Chatham Co.,

NC # lZ-CVS-1003) Evans vs. R32 Auto Sales ct. al. (Durham Co. # 07-CVS-6015); Steed vs.

 

William Neil Ward d/b/a Boulevard Auto Sales, et. al. (Durham Co. # 08-CVD-3662); Gan vs.
Graham’s Towing. Inc., et. al. (Durham Co. # 08-CVS-3554); Meier vs. Credigv Receivablcs,
nc. et al. (Durham Co., N.C. # l2-CVD-2301); Mg vs. Duke Univ. Health Sys., Inc., et al.

I ,
(Durham Co, NC # l3-CVS-3207); Braswell vs. Green Tree Servicing, LLC (Granvillc Co. # 08-
CVD-822 ); Goga vs. Creditors lnterchange Receivable Management, LLC (Guilford Co. # 10-
CVD-7180); Greenc vs. Professional Financial Services Corp., et al. (Guilford Co. # lO-CVD-
8636); Ridenhour vs. Americredit Financial Services, Inc. (Guilford Co. # lO-CVD-9614);
Hopkins vs. Wolfpack Auto Sales, LLC, et al. (Guilford Co., NC # 12-CVS-10292);Lambext vs.
Dominion Law Associates (Orange Co. # lO-CVD-744); Sandford vs. American Billing Service
lnt’l of` Jacksonville, Inc., et al. (Orange Co. # lO-CVD-853); Ring vs. Wells Fargo Auto
Finance, LLC (Orange Co. # lO-CVS-935); Rav vs. Cavalry SPV I. LLC, et al. (Orange Co. #

l l-CVD-l408); Staton vs. Account Reeeivable Management of Florida, Inc. (Orange Co. # l l-

CVD-2105); Averette vs. HZB Financial Services Inc. et al. (Orange Co., N.C. # ll-CVD-

 

2395); Stinson vs. HZB Financial Services, Inc. (Wake Co. # lO-CVD-15623); Staton vs.
Vandenberg Chasc & Associates, LLC (Wake Co., N.C. # l l-CVD-l9264); Samai vs. CashCall,

lnc. et al. (Wake Co., N.C. # 12-CVD-2398). l have also asserted counterclaims under the

 

FDCPA and/or North Carolina’s fair debt collection laws as defense counsel in numerous debt
collection lawsuits in state courts.
23. l regularly attend the conferences of the National Association of Consumcr

Advocates, the National Consumcr I.aw Centcr, and the North Carolina Advocates for Justicc,

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and have trained with the National lnstitute for Trial Advocacy.

24. The National Association of Consumcr Advocates has engaged me to present the
following consumer law CLE’s to fellow attorneys nationwide: “Representing Consumcr
Defendants in State Court” (panel member) (March 2013) and “Debt Collection Defense: Trial
Preparation” (Fcbruary 2014).

25. NCAJ has engaged me to present the following consumer law CLE’s to fellow
attorneys statewide: “Defending Consumers in Debt Collection Cases” (Decembcr 2009),
“Credit Reporting: Consumcr Rights and Remedies” (October 2010 and Octobcr 2012), “Money
Madness: Divorce and Financial lssues" (February 2011); “FDCPA/State Debt Collection
Fundamentals” (Novembcr 2012); and “Walking the Minefield: Blowup Prevention & Damage
Control for Non-Consumer Lawyers” (February 2013).

26. In April 2011, representing a consumer Plaintiff, l conducted with co-eounse|
what was, to my knowledge, North Carolina’s first FDCPA jury trial in federal court in the

matter of Russell vs. Absolute Collection Service lnc. (l:09-cv-515-WO-WWD). ln Russe|l,

 

the jury found for Plaintiff` and awarded her damages of $37,501.00.

27. Legal Aid of North Carolina has engaged me to present the following consumer
law CLE’s to fellow attorneys statewide: “Defending Debt Collection Lawsuits and Fighting
Back with Countcrclaims" (Novembcr 2012) and “Basics of Consumcr Law: Collections and
Exemptions” (March 2013). I regularly make presentations about consumers’ rights to lay
audiences through local civic organizations

28. The Durham County Bar Association has engaged me to present the following
consumer law CLE’s to fellow attorneys in my local judicial district: “Credit Reporting Rights

and Remedies” (January 2013) and “Responding to ldentity Theft: Civil Rights and Remedies”

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(February 2014).

29. The Orange County Bar Association has also engaged me to present the “Crcdit
Reporting Rights and Remedies” CLE later this spring to its local bar membership.

30. An article 1 authored, “Civil Remedies for Victims of Identity Theti,” was
published in NCAJ’s Trial Briefs magazine (June 2013).

31. North Carolina Lawyer’s Weeklv has interviewed me regarding my consumer
protection practice and consumer protection matters on multiple occasions. l have also been
interviewed regarding consumer law matters by the News & Observer, the Virginian-Pilot, the
NCAJ Trial Bricf`s magazine, The Carolina Verdict Reporter, and the American Independent. l
have also contributed, at the request of the National Consumcr Law Centcr, sample documents
for its publication Consumer Law Pleadings, Number 17 (2011).

32. 1 am actively involved in civic and charitable activities that involve my consumer
law expertise, including Legal Aid of North Carolina’s pro bono program, the North Carolina
Bar Association (NCBA) 4ALL Campaign, and the Compass Center Lawyer Infonnation
Service, a Chapel Hill-based program which serves callers from across the state.

33. I declare under the penalty of perjury that the foregoing is true and correct.

Executcd this the 2nd of February, 2014.

Respectfully submitted,

By: /s/ Suzanne Begnoche
SUZANNE BEGNOCHE

Suzanne Begnoche, Attomey at Law
NCSB # 35158

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C|ient: Warren and Dedrah Earles l~iours Bil|ed

Earles vs. NCO Financial Systems, lnc.

Attend/argue hearing on motion to amend complaint
Draft discovery responses

Review & respond to emails from OC M. Slodov re:
amended discovery schedule

Meeting with clients to review/verify discovery responses
Review & respond to emails from OC M. Slodov re:
requesting delay in trial date/pre-trial scheduling

Review & respond to emails from client re: supplementary
document production

Review & respond to emails from OC M. S|odov re:
requesting delay in trial date/pre-trial scheduling

Draft email to T. Kesh|er (JSS-Chatham Co.) re: Order on
amendment of complaint, scheduling order

Review & respond to email from T. Kesh|er(JSS-Chatham
Co.) re: Order on amendment of complaint, scheduling
order

Draft |tr to OC M. Slodov/A. Rich re: amended complaint
Draft ltr to C|erk of Court re: amended complaint
Review & respond to emails from OC M. Slodov re:
amended complaint/service

Review & respond to emails from client re: supplementary
document production

Review & respond to emails from OC M. Slodov re:
scheduling plaintiff depos

Draft emails to and respond to email from D. Earles re:
scheduling plaintiff depos

Review additional doc production from client & redact
privileged content

Rev|ew & respond to email from OC A. Rich re: plaintiff
depo scheduling

Draft ltr to OC M. Slodov/A. Rich re: supplementary
document production

Review & respond to email from D. Earles re: medical
record contacts

Review & respond to fax from D. Earles re: medical record
release authorizations

Draft medical record requests (6)

Review K. Earles' medical records to plan depo prep
Meeting w/ clients re: depo prep

Review & respond to emails from OC M. Slodov re:
scheduling plaintiff depos

Deposition: Dedrah Earles

Email to client re: settlement negotiation

Review & respond to email from client re: settlement
negotiation

Email to OC Nl. S|odov re: settlement negotiation
Meeting w/ OC M. Slodov re: settlement negotiation
Email to D. Earles re: settlement negotiation

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C|ient: Warren and Dedrah Earles Hours Bil|ed

1/29/ 14

Earles vs. NCO Financial Systems, lnc.

Review & respond to email from D. Earles re: settlement 0.1
negotiation
Meeting w/ K. Earles re: settlement negotiation 0.1
Meeting w/ OC M. S|odov re: draft settlement agreement 0.5
Meeting w/ clients re: review & execute settlement & tax 0.4
documents

TOTAL: 15

$35.00
$35.00
$115.00
$140.00

$5,250.00

